       Case 4:15-cr-00122-DLH              Document 437     Filed 07/13/16       Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,              )
                                       )
               Plaintiff,              )       ORDER
                                       )
       vs.                             )
                                       )
Robert Raymond Althaus,                )       Case No. 4:15-cr-122
                                       )
               Defendant.              )


       Before the court is a “Renewed Motion to Amend the Order for Pretrial Detention” filed by

defendant on June 24, 2016. Stressing that he has behaved well during his last ten months of

detention, defendant asks that he be allowed to return to the State of Washington, where a

construction job awaits him. In the alternative, he asks to be released to a residential facility. The

Government opposes defendant’s motion.

       The court appreciates that defendant has now been in pretrial detention for ten plus months

and commends defendant for his good behavior to date. Nevertheless, having reviewed the record,

the court concludes there have been no material change in circumstances to warrant defendant’s

release at this time. Defendant’s motion (Doc. No. 422) is therefore DENIED.

       IT IS SO ORDERED.

       Dated this 13th day of July, 2016.

                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
